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                 United States Court of Appeals
                     for the Federal Circuit
                               __________________________

                   PARALLEL NETWORKS LICENSING, LLC,
                            Plaintiff - Appellant

                                           v.

                          MICROSOFT CORPORATION,
                                Defendant - Appellee
                            __________________________

                                       2018-1120
                               __________________________

                   Appeal from the United States District Court for the
               District of Delaware in No. 1:13-cv-02073-KAJ-SRF,
               Judge Kent A. Jordan (sitting by designation).
                             __________________________

                                      JUDGMENT
                               __________________________

               THIS CAUSE having been considered, it is

               ORDERED AND ADJUDGED:

               AFFIRMED

                         ENTERED BY ORDER OF THE COURT

               June 28, 2019                    /s/ Peter R. Marksteiner
                                                Peter R. Marksteiner
                                                Clerk of Court
